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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION

UNITED STATES OF AMERICA,                  :
                                           :
v.                                         :       CASE NO.: 7:20-CR-33 (WLS-TQL-1)
                                           :
JASON E. WRIGHT,                           :
                                           :
                                           :
       Defendant.                          :
                                           :

                                          ORDER

       Per a response to this Court’s Order issued on September 17, 2021, the Parties have
indicated that Defendant Jayson E. Wright and the Government have agreed to the terms of
a negotiated plea agreement and are in the process of finalizing a draft of said agreement for
the Court. (Doc. 69.) The Court shall schedule a hearing on a change of plea by separate notice
once the agreement has been finalized.
       However, it has come to the attention of the Court that Assistant United States
Attorney Katelyn Semales, the lead and only attorney of record for the Government listed on
the docket, has filed a temporary leave of absence in multiple cases scheduled for the current
trial term, for which this case is currently scheduled. No such notice of leave of absence has
been filed in this case. In order to expeditiously adjudicate this case and avoid unnecessary
delays, the Court hereby ORDERS that the Government inform the Court whether Ms.
Semales will take a leave of absence in this case and enter notice of appearance for additional
counsel within three (3) days of this Order or by Friday, October 8, 2021.


       SO ORDERED, this 5th day of October 2021.


                                           /s/ W. Louis Sands
                                           W. LOUIS SANDS, SR. JUDGE
                                           UNITED STATES DISTRICT COURT



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